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13                           UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA
14
                                     EASTERN DIVISION
15
     SHELLEY M. TAYLOR,                        ) No. 5:21-cv-00354-SK
16                                             )
           Plaintiff,                          )
17                                             )
                  v.                           ) JUDGMENT OF REMAND
18                                             )
                                               )
19   KILOLO KIJAKAZI, Acting                   )
                                               )
20   Commissioner of Social Security,          )
                                               )
21         Defendant.                          )
22
           The Court having approved the parties’ Stipulation to Voluntary Remand
23
24   Pursuant to Sentence 4 of 42 U.S.C. § 405(g) and to Entry of Judgment (“Stipulation

25   of Remand”) lodged concurrent with the lodging of the within Judgment of Remand.
26         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the above-
27   captioned action is remanded to the Commissioner of Social Security for further
28   ///
     ///
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1    proceedings consistent with the Stipulation of Remand.
2
     DATED:      9/27/2021
3                                         HON. STEVE KIM
4                                         UNITED STATES MAGISTRATE JUDGE
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